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EXHIBIT G
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120,561 voters at risk!

Paul Smith, Campaign Legal Center <info@campaignlegalcenter.org>
Mon 12/16/2019 2:28 PM

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CLC

ADVANCING
DEMOCRACY
THROUGH LAW

120,561 voters might be purged from Georgia’s voter rolls tonight.

That's why I’m in Georgia right now, as Fair Fight Action’s counsel, standing up
for the voting rights of 120,561 voters who might be purged from the voter rolls

solely based on voter inactivity. This is alarming, especially ahead of the 2020
presidential election.

Your contribution today will help us protect the voting rights of
Americans in 2020.

We've partnered with Fair Fight Action on the legal challenge to the planned
voter purge and are responding to this disastrous plan by Georgia’s Secretary
of State. The court must step in to prevent this reckless purge from removing
hundreds of thousands of Georgians from the rolls. At a time when we should

be working to increase the participation of all communities, Georgia seems to
be moving backward.

Unfortunately, what's happening in Georgia is not new. We've seen many voter
purges happen across the country this year and expect many more to arise
ahead of the 2020 election. That’s why we need your support today.

Contribute to CLC today and help us ensure that everyone has a voice in

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our elections.

Paul Smith
Vice President, Campaign Legal Center

Campaign Legal Center, a nonpartisan organization based in Washington, D.C., is home to the nation's
premier election law experts. We are the lawyers for our democracy, fighting for your fundamental right to
participate in the political process.

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